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 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                   Case No. 2:07-CR-145-KJD-PAL

12   v.                                                  ORDER

13   CHARLES EDWARD GENSEMER, et
     al.,
14
            Defendants.
15

16
            Defendant Michael Wayne Yost has petitioned this Court for an evidentiary hearing to
17
     determine whether Yost received ineffective assistance of counsel, Gary Myers, Bar No. 3120,
18
     during pre-trial plea negotiations (#1386).
19
            IT IS THEREFORE ORDERED that the attorney-client privilege between Defendant Yost
20
     and Gary Myers is waived as to pre-trial plea negotiations;
21
            IT IS FURTHER ORDERED that Gary Myers, Bar No. 3120, shall forthwith, but not later
22
     than twenty-one (21) days after the entry of this Order, provide the government, Defendant Yost, and
23
     this Court with affidavits containing all materials and information relating to matters put at issue in
24
     Defendant’s Motion for Evidentiary Hearing Pursuant to Lafler (#1386).
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 1          IT IS FURTHER ORDERED that the Clerks of Court will serve this order on Gary Myers,

 2   Bar No. 3120, forthwith but not later than seven (7) days after the entry of this order.

 3          DATED this 28th day of May 2013.

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 6                                                 _____________________________
                                                   Kent J. Dawson
 7                                                 United States District Judge

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